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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

                                   9
                                        DANA GOLD, et al.,
                                  10                                                        Case No. 14-cv-05373-RS
                                                       Plaintiffs,
                                  11
                                                v.                                          ORDER GRANTING MOTION FOR
                                  12                                                        CLASS CERTIFICATION; AND
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 United States District Court




                                        LUMBER LIQUIDATORS, INC.,                           GRANTING IN PART AND DENYING
                                  13                                                        IN PART MOTION TO EXCLUDE
                                                       Defendant.                           EXPERT WITNESSES
                                  14

                                  15                                           I. INTRODUCTION
                                  16          Plaintiffs Dana Gold, John Triana, Edwin Mendez, Laura Norris, Donald Fursman, and
                                  17   Tammy Emery bring this putative class action challenging Lumber Liquidators’ business practices
                                  18   with respect to the sale and marketing of Morning Star Strand Bamboo Flooring. Plaintiffs now
                                  19   move for certification of six classes pursuant to Rule 23(b)(3). Lumber Liquidators opposes
                                  20   certification and also moves to exclude plaintiffs’ expert witnesses. For the reasons outlined
                                  21   below, plaintiffs’ motion for certification is granted and defendant’s motion to exclude is granted
                                  22   in part and denied in part.
                                  23                                          II. BACKGROUND
                                  24          Plaintiffs Gold, Triana, Mendez, Norris, Fursman, and Emery are residents of California,
                                  25   Florida, Illinois, Minnesota, Pennsylvania, and West Virginia, respectively. All six plaintiffs
                                  26   purchased and installed Lumber Liquidator’s Morning Star bamboo flooring in their homes, and
                                  27   shortly thereafter allegedly began experiencing product defects. Gold has experienced warping,
                                  28   splitting, buckling and shrinking. Triana has experienced cracking, splitting, peeling, and cupping.
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                                   1   Mendez has experienced buckling and shrinking. Norris has experienced cupping, shrinking,

                                   2   warping, and splitting. Fursman has experienced shrinking and gapping. Emery has experienced

                                   3   delaminating, warping, splitting, shrinking, scratching, and deterioration.

                                   4          Plaintiffs allege that Lumber Liquidators’ Morning Star Strand Bamboo Flooring “is

                                   5   defectively designed, tested, and manufactured, and will warp, buckle, splinter, and unreasonably

                                   6   scratch and dent when used in its intended manner. These failures are common in the Product

                                   7   regardless of when, where, or how it is installed.” FAC at ¶ 117. Additionally, plaintiffs allege that

                                   8   Lumber Liquidators “communicate[d] representations about the durability and quality of the

                                   9   Product and about its warranty to the general public and contractors,” yet “concealed from and/or

                                  10   failed to disclose to Plaintiffs and Class Members the defective nature of the Product.” Id. at ¶104.

                                  11   As a result of this alleged misconduct, plaintiffs and class members claim to have suffered actual

                                  12   damages.
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                                  13          Plaintiffs bring this putative class action pursuant to Rule 23(b)(3). They advance eight

                                  14   claims for relief under various business and consumer protection laws from California,

                                  15   Pennsylvania, Minnesota, West Virginia, and Florida, and seek certification of six classes. The

                                  16   first five classes consist of individuals in Florida, Illinois, Minnesota, Pennsylvania, and West

                                  17   Virginia, who purchased, for personal, family, or household use, Morning Star Strand Bamboo

                                  18   flooring manufactured and sold by Lumber Liquidators from January 1, 2008 to the present. The

                                  19   sixth class consists of persons and entities in California who purchased Morning Star Strand

                                  20   Bamboo flooring manufactured and sold by Lumber Liquidators from January 1, 2008 to the

                                  21   present.

                                  22                                         III. LEGAL STANDARD

                                  23          A. Class Certification Under Rule 23

                                  24          Class actions are governed by Rule 23 of the Federal Rules of Civil Procedure, which

                                  25   represents more than a mere pleading standard. To obtain class certification, plaintiffs bear the

                                  26   burden of showing they have met each of the four requirements of Rule 23(a) and at least one

                                  27   subsection of Rule 23(b). Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1186, amended by

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                                   1   273 F.3d 1266 (9th Cir. 2001). “A party seeking class certification must affirmatively demonstrate

                                   2   . . . compliance with the Rule.” Wal–Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011).

                                   3          Rule 23(a) provides that a court may certify a class only if: “(1) the class is so numerous

                                   4   that joinder of all members is impracticable; (2) there are questions of law or fact common to the

                                   5   class; (3) the claims or defenses of the representative parties are typical of the claims or defenses

                                   6   of the class; and (4) the representative parties will fairly and adequately protect the interests of the

                                   7   class.” These requirements are commonly referred to as numerosity, commonality, typicality, and

                                   8   adequacy. Mazza v. Am. Honda Motor Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012).

                                   9          If all four Rule 23(a) prerequisites are satisfied, a court must also find that plaintiffs

                                  10   “satisfy through evidentiary proof” at least one of the three subsections of Rule 23(b). Comcast

                                  11   Corp. v. Behrend, 133 S. Ct. 1426 (2013). Relevant here is Rule 23(b)(3), which permits

                                  12   certification if a court finds that “questions of law or fact common to class members predominate
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                                  13   over any questions affecting only individual members, and that a class action is superior to other

                                  14   available methods for fairly and efficiently adjudicating the controversy.” “[A] court’s class-

                                  15   certification analysis must be ‘rigorous’ and may ‘entail some overlap with the merits of the

                                  16   plaintiff’s underlying claim.’” Amgen Inc. v. Conn. Ret. Plans and Trust Funds, 133 S. Ct. 1184,

                                  17   1194 (2013) (quoting Dukes, 131 S. Ct. at 2551); see also Mazza, 666 F.3d at 588. This “rigorous”

                                  18   analysis applies to both Rule 23(a) and Rule 23(b). See Comcast, 133 S. Ct. at 1432.

                                  19          Nevertheless, “Rule 23 grants courts no license to engage in free-ranging merits inquiries

                                  20   at the certification stage.” Amgen, 133 S. Ct. at 1194–95. “Merits questions may be considered to

                                  21   the extent—but only to the extent—that they are relevant to determining whether the Rule 23

                                  22   prerequisites for class certification are satisfied.” Id. at 1195. If a court concludes that the moving

                                  23   party has met its burden of proof, then the court has broad discretion to certify the class. Zinser,

                                  24   253 F.3d at 1186.

                                  25          B. Federal Rule of Evidence 702

                                  26          Federal Rule of Evidence 702 states that expert opinion evidence is admissible if: (1) the

                                  27   witness is sufficiently qualified by knowledge, skill, experience, training, or education; (2) the

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                                   1   scientific, technical, or other specialized knowledge will help the trier of fact to understand the

                                   2   evidence or to determine the fact at issue; (3) the testimony is based on sufficient facts or data; (4)

                                   3   the testimony is the product of reliable principles and methods; and (5) the expert has reliably

                                   4   applied the principles and methods to the facts of the case.

                                   5            The Ninth Circuit has interpreted Rule 702 as requiring expert testimony to be both

                                   6   relevant and reliable. City of Pomona v. SQM North Am. Corp., 750 F.3d 1036, 1043–44 (9th Cir.

                                   7   2014). Expert opinion testimony is relevant when the knowledge underlying it has a valid

                                   8   connection to the pertinent inquiry. Id. at 1044. It is reliable when such knowledge “has a reliable

                                   9   basis in the knowledge and experience of the relevant discipline.” Id. The court must “screen the

                                  10   jury from unreliable nonsense opinions, but not exclude opinions merely because they are

                                  11   impeachable.” Alaska Rent-A-Car, Inc. v. Avis Budget Grp., Inc., 738 F.3d 960, 969 (9th Cir.

                                  12   2013).
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                                  13                                              II. DISCUSSION

                                  14            A. Rule 23(a) Requirements

                                  15                   1. Numerosity

                                  16            Numerosity is satisfied if the potential class members are so numerous that the

                                  17   alternative—joinder of individual plaintiffs—is “impracticable.” Fed. R. Civ. P. 23(a)(1). While

                                  18   there is no fixed number that satisfies the numerosity requirement, generally, a class greater than

                                  19   forty is sufficient while one less than twenty-one is not. See Californians for Disability Rights,

                                  20   Inc. v. Cal. Dep’t of Transp., 249 F.R.D. 334, 346 (N.D. Cal. 2008). Here, each of plaintiffs’

                                  21   proposed classes has well over a thousand members. Accordingly, numerosity is satisfied.

                                  22                   2. Commonality

                                  23            Rule 23(a)(2) requires some “questions of fact and law which are common to the class.”

                                  24   This commonality requirement is construed less rigorously than the “predominance” requirement

                                  25   of Rule 23(b)(3). Hanlon v. Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). “[C]ommonality

                                  26   requires that the class members’ claims ‘depend upon a common contention’ such that

                                  27   ‘determination of its truth or falsity will resolve an issue that is central to the validity of each

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                                   1   claim in one stroke.’” Mazza, 666 F.3d at 588 (quoting Dukes, 131 S. Ct. at 2551) (internal

                                   2   alteration omitted). Stated differently, “the key inquiry is not whether the plaintiffs have raised

                                   3   common questions, ‘even in droves,’ but rather, whether class treatment will ‘generate common

                                   4   answers apt to drive the resolution of the litigation.’” Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d

                                   5   952, 957 (9th Cir. 2013) (quoting Dukes, 131 S. Ct. at 2551). This does not mean that every

                                   6   question of law or fact must be common to the class; rather, “all that Rule 23(a)(2) requires is a

                                   7   single significant question of law or fact.” Id. (internal quotation marks omitted).

                                   8          Here, plaintiffs argue the commonality requirement is met because the case presents

                                   9   several common questions: (1) whether Morning Star Strand Bamboo flooring is defective

                                  10   because it does not stand up to foreseeable ambient moisture; (2) whether Lumber Liquidators

                                  11   knew about the alleged defect; (3) whether Lumber Liquidators failed to disclose the alleged

                                  12   defect; and (4) whether Lumber Liquidator’s conduct violated consumer protection laws.
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                                  13          By contrast, Lumber Liquidators contends that commonality is not satisfied primarily

                                  14   because the defect alleged by plaintiffs is not susceptible to common proof. First, “typical”

                                  15   residential ambient moisture can vary from city to city, state to state, season to season, home to

                                  16   home, and even day to day, and thus “foreseeable” residential ambient moisture is subjective.

                                  17   Second, the alleged defect arises from the interaction between the “unique circumstances of that

                                  18   flooring’s acclimation, the installation in the class member’s home, and the specific environmental

                                  19   conditions in each home during and after installation.” Opp’n at 10:1-4. This is evidenced,

                                  20   Lumber Liquidators argues, by the inspections of Plaintiff Emery’s and Plaintiff Triana’s bamboo

                                  21   floors which reveal that: a) Emery’s “buckling” problems were caused by Emery failing to install

                                  22   proper moldings and connections as specified by the product’s instructions; and b) Triana’s

                                  23   problems stemmed from excessive moisture seeping up through the concrete floor, not “ambient”

                                  24   moisture. Third, the presence of a uniform defect is belied by the fact that only 2.6% of the

                                  25   390,000 customers who purchased Morning Star bamboo during the class period ever complained

                                  26   of performance issues.

                                  27

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                                   1          Lumber Liquidators arguments may prove compelling later in this litigation in attacking

                                   2   the merits of plaintiffs’ claims. They are not, however, enough to defeat commonality. Here, the

                                   3   claims of all prospective class members involve the same alleged defect (inability to withstand

                                   4   normal humidity changes) in the same product (Morning Star Strand Bamboo). While individual

                                   5   factors such as geography, acclimation, or installation may affect the onset of flooring problems,

                                   6   they do not affect whether the flooring’s alleged inability to withstand normal humidity changes

                                   7   undermines its durability and/or makes it unable to last the promised 30 years. The latter question

                                   8   is “central to the validity” of the claims of all class members and is capable of resolution in “one

                                   9   stroke.” Dukes, 564 U.S. at 350. This common question meets “the relatively ‘minimal’ showing

                                  10   required to establish commonality.” Ries v. Ariz. Beverages USA LLC, 287 F.R.D. 523, 537 (N.D.

                                  11   Cal. 2012) (citing Hanlon, 150 F.3d at 1020 (9th Cir. 1998)). Accordingly, plaintiffs’ other

                                  12   proposed common questions need not be addressed.
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                                  13                  3. Typicality

                                  14          Under Rule 23(a)(3) the representative plaintiffs’ claims must be typical of those advanced

                                  15   by the class. Admittedly, “[t]he commonality and typicality requirements of Rule 23(a) tend to

                                  16   merge.” Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157–158 n. 13 (1982). Typicality, however,

                                  17   like adequacy, aims at ensuring that plaintiffs are proper parties to proceed with the suit. The test

                                  18   is “whether other members have the same or similar injury, whether the action is based on conduct

                                  19   which is not unique to the named plaintiffs, and whether other class members have been injured by

                                  20   the same course of conduct.” Id. (quoting Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D. Cal.

                                  21   1985)). That said, “[t]ypicality refers to the nature of the claim or defense of the class

                                  22   representative,” and less so, “the specific facts from which it arose or the relief sought.” Hanon v.

                                  23   Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992) (quoting Weinberger v. Thornton, 114

                                  24   F.R.D. 599, 603 (S.D. Cal. 1986)). “Under the rule’s permissive standards, representative claims

                                  25   are ‘typical’ if they are reasonably co-extensive with those of absent class members; they need not

                                  26   be substantially identical.” Hanlon, 150 F.3d at 1020 (emphasis added).

                                  27

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                                   1          Plaintiffs argue their claims are typical of the claims of all proposed class members

                                   2   because they each purchased and installed flooring that was manufactured in the same way and

                                   3   they each were subjected to the same deceptive conduct: Lumber Liquidator’s failure to disclose

                                   4   the product’s defect. Moreover, plaintiffs allege they have all been injured by Lumber Liquidators

                                   5   and seek relief under the same legal theories. Id.

                                   6          In response, Lumber Liquidators argues typicality is not satisfied due to differences

                                   7   between several of the named plaintiffs. First, plaintiffs approached their flooring purchases with

                                   8   different levels of knowledge and experience, conducted varying amounts of pre-purchase

                                   9   research and comparison shopping, and eventually selected flooring for different reasons and with

                                  10   different expectations. Second, they took widely divergent approaches to acclimating their

                                  11   flooring to their homes prior to installation, and used different installation methods (e.g., some

                                  12   plaintiffs installed their own flooring, while others employed independent contractors for that
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                                  13   purpose). Lastly, plaintiffs’ complaints about their flooring vary widely and some have even

                                  14   acknowledged that their flooring problems are seasonal in nature and that they do not know

                                  15   whether the damage they are claiming is due to moisture-related issues.

                                  16          The Ninth Circuit addressed similar arguments in Wolin v. Jaguar Land Rover North

                                  17   America, LLC, 617 F.3d 1168 (9th Cir. 2010). In Wolin, Land Rover opposed certification on the

                                  18   grounds that the named plaintiffs’ “claims [were] not typical because their tires indicate[d] wear

                                  19   that is not the kind attributable to vehicle alignment.” Id. at 1175. The Ninth Circuit rejected this

                                  20   argument, noting that the named plaintiffs alleged that they, “like all prospective class members,

                                  21   were injured by a defective alignment geometry in the vehicle,” and that the class was advancing

                                  22   the “same legal theories” based on violations of consumer protection laws. Id. The court also held

                                  23   that, even if Land Rover were correct that the wear on the named plaintiffs' tires was due to a

                                  24   different cause than the wear on class members' tires, the named plaintiffs, “like the rest of the

                                  25   class, may have a viable claim regardless of the manifestation of the defect.” Id. In other words,

                                  26   even though the named plaintiffs’ tires may have been worn for other reasons, plaintiffs’ theory

                                  27

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                                   1   was that their vehicles still suffered from the same alignment defect, and this was sufficient to

                                   2   make the named plaintiffs’ claim typical of the proposed class.

                                   3           The same reasoning applies here. Plaintiffs are asserting injuries stemming from a uniform

                                   4   design defect and seeking relief under the “same legal theories.” “Typicality can be satisfied

                                   5   despite different factual circumstances surrounding the manifestation of the defect.” Id. Therefore,

                                   6   differences in how plaintiffs acclimated their flooring and installed their floors, or in how their

                                   7   flooring manifested problems does not defeat typicality where the alleged defect is in the product

                                   8   itself. See Thomas v. Louisiana-Pacific Corp., 246 F.R.D. 505, 516 (D.S.C. 2007) (rejecting

                                   9   defendant’s contention that maintenance and installation issues precluded class certification

                                  10   “because Plaintiffs allege TrimBoard is completely unsuitable as an exterior trim product and will

                                  11   fail during its useful life even if all instructions are followed.”). Typicality is satisfied.

                                  12                   4. Adequacy
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                                  13           Rule 23(a)(4) requires that named plaintiffs be capable of adequately representing the

                                  14   interests of the entire class, including absent class members. This inquiry turns on: (1) whether the

                                  15   named plaintiff and class counsel have any conflicts of interest with other class members; and (2)

                                  16   whether the representative plaintiff and class counsel can vigorously prosecute the action on

                                  17   behalf of the class. Ellis v. Costco Wholesale Corp., 657 F.3d 970, 985 (9th Cir. 2011).

                                  18           In determining whether Class Counsel is proper, courts generally consider the factors set

                                  19   out in Rule 23(g)(1)(A): (1) the work counsel has done in identifying or investigating potential

                                  20   claims in the action; (2) counsel’s experience in handling class actions, other complex litigation,

                                  21   and the types of claims asserted in the action; (3) counsel’s knowledge of the applicable law; and

                                  22   (4) the resources that counsel will commit in representing the class. Defendant does not challenge

                                  23   the adequacy of plaintiffs’ class counsel. Plaintiffs’ class counsel has experience litigating

                                  24   consumer class actions, has already expended significant resources in pursuing plaintiffs’ claims,

                                  25   and commits to having the resources and funding needed to take the case through trial and any

                                  26   appeals. Plaintiffs’ class counsel is therefore deemed adequate to represent the plaintiffs.

                                  27

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                                   1          With respect to the named plaintiffs, they claim they have shown their commitment to

                                   2   representing the class by providing discovery, being deposed, and having their floors inspected.

                                   3   Furthermore, they claim to have no conflicts with other class members because they have all

                                   4   experienced the same defect in their flooring.

                                   5          Lumber Liquidators challenges the adequacy of three of the class representatives. Plaintiffs

                                   6   Emery and Norris are challenged on the ground that both had remedial work done on their bamboo

                                   7   floors by their installers. This challenge, however, is unavailing. Neither Emery nor Norris were

                                   8   able fully to address their flooring issues by the repairs they obtained. Also, because the flooring

                                   9   itself is allegedly defective, both plaintiffs’ floors remain susceptible to future problems. Thus,

                                  10   Emery and Norris are adequate class representatives.

                                  11          Lumber Liquidators also argues Plaintiff Mendez is not adequate because he lacks standing

                                  12   to sue for two independent reasons. First, Mendez received a $500 refund “in full and final
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                                  13   settlement of any and all claims” he raised or referenced in past communication with Lumber

                                  14   Liquidator’s regarding his flooring purchase. Second, during the pendency of this litigation,

                                  15   Mendez’s bamboo flooring was destroyed by a kitchen pipe leak and his insurance replaced his

                                  16   entire floor. Plaintiffs counter that Mendez only released claims relating to glue—not the uniform

                                  17   defect alleged in this suit. Plaintiffs also argue that while Mendez had his bamboo flooring

                                  18   replaced, he had to pay $2,205.67 to cover his insurance deductible and other out-of-pocket costs

                                  19   related to removal and replacement, damages that are recoverable under the applicable Illinois

                                  20   consumer protection statute.

                                  21          Plaintiffs’ arguments are insufficient to establish Mendez’s adequacy. Regardless of

                                  22   whether Mendez released the claims in this suit when he received his $500 refund, the fact that he

                                  23   already replaced the allegedly defective flooring in his home is problematic. Because Mendez no

                                  24   longer has the defective flooring in his home, he no longer shares an interest with putative class

                                  25   members whose primary goal is to obtain full replacement of their bamboo flooring. See Ellis, 657

                                  26   F.3d 970 (finding former employers would not share an interest with class members whose

                                  27   primary goal was to obtain injunctive relief barring discriminatory promotion practices).

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                                   1          That being said, as long as a proposed class satisfies all other requirements of Rule 23, a

                                   2   court may certify the class conditioned on the substitution of an adequate named plaintiff. See,

                                   3   e.g., Nat’l Fed’n of Blind v. Target Corp., 582 F.Supp. 2d 1185, 1201 (N.D. Cal. 2007) (citing

                                   4   Kremens v. Bartley, 431 U.S. 119, 135 (1977)). Here, the Illinois class does satisfy all other Rule

                                   5   23 requirements and the record suggests the existence of numerous individuals who could serve as

                                   6   adequate class representatives. The Illinois class will therefore be conditionally certified pending

                                   7   plaintiffs’ substitution of an adequate named plaintiff in the place of Plaintiff Mendez.

                                   8          B. Rule 23(b) Requirements

                                   9                  1. Predominance

                                  10          Rule 23(b)(3) requires that “questions of law or fact common to class members

                                  11   predominate over any questions affecting only individual members.” The predominance analysis

                                  12   “presumes that the existence of common issues of fact or law have been established pursuant to
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                                  13   Rule 23(a)(2).” Hanlon, 150 F.3d at 1022. Thus, it “focuses on ‘the relationship between the

                                  14   common and individual issues’ in the case and ‘tests whether proposed classes are sufficiently

                                  15   cohesive to warrant adjudication by representation.’” Wang v. Chinese Daily News, Inc., 737 F.3d

                                  16   538, 545 (9th Cir. 2013) (quoting Hanlon, 150 F.3d at 1022). The main concern is “the balance

                                  17   between individual and common issues.” Id. at 546 (quotation marks and citation omitted).

                                  18                          a. Plaintiffs’ Claims Under State Consumer Protection Statutes

                                  19          “Considering whether questions of law or fact common to class members predominate

                                  20   begins . . . with the elements of the underlying cause of action.” Erica P. John Fund, Inc. v.

                                  21   Halliburton Co., 563 U.S. 804, 809, 131 S.Ct. 2179, 180 L.Ed.2d 24 (2011) (quotation marks

                                  22   omitted). A court must analyze these elements to “determine which are subject to common proof

                                  23   and which are subject to individualized proof.” In re TFT–LCD I, 267 F.R.D. at 310–11.

                                  24                                 i. CLRA and UCL Claims

                                  25          Plaintiffs seek to certify claims on behalf of a California Class for violation of California’s

                                  26   Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, and California’s Consumer

                                  27   Legal Remedies Act (“CLRA”), (Cal. Civ. Code § 1770(a)). The UCL prohibits “any unlawful,

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                                   1   unfair or fraudulent business act or practice and unfair, deceptive, untrue or misleading

                                   2   advertising.” Cal. Bus. & Prof. Code § 17200. Similarly, the CLRA provides relief to “any

                                   3   consumer who suffers any damage as a result of the use or employment” of any unlawful “method,

                                   4   act, or practice.” Cal. Civ. Code § 1780(a).

                                   5          California’s UCL and CLRA “rely on the same objective test, that is, whether members of

                                   6   the public are likely to be deceived.” Tait v. BSH Home Appliances Corp., 289 F.R.D. 466, 480

                                   7   (C.D. Cal. 2012) (citations and internal quotation marks omitted). Consequently, these statutes are

                                   8   particularly amenable to class certification “because they will not require the court to investigate

                                   9   ‘class members’ individual interaction with the product,” id. at 480, and “courts in California

                                  10   routinely certify consumer class actions arising from alleged violations of the CLRA . . . and

                                  11   UCL.” Id. (collecting cases). See also Rikos v. Proctor & Gamble Co., 799 F.3d 497, 512 (6th Cir.

                                  12   2015) (finding neither the UCL nor CLRA “require individualized proof of reliance or causation
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                                  13   such that classwide proof will never suffice.”).

                                  14                                  ii. FDUTPA Claims

                                  15          Plaintiffs seek to certify claims for violation of the Florida Deceptive and Unfair Trade

                                  16   Practices Act (“FDUTPA”), Fla. Stat. § 501.201, et seq. A claim under the FDUTPA has three

                                  17   elements: (1) a deceptive or unfair practice; (2) causation; and (3) actual damages. Siever v.

                                  18   BWGaskets, Inc., 669 F. Supp. 2d 1286, 1292 (M.D. Fla. 2009). The Eleventh Circuit has

                                  19   described these elements as being objective. Carriuolo v. General Motors Co., 823 F.3d 977, 985–

                                  20   986 (11th Cir. 2016). The first element is satisfied when a plaintiff “show[s] that a reasonable

                                  21   consumer would have been harmed by defendant’s conduct.” Bowe v. Public Storage, 318 F.R.D.

                                  22   160, 182 (S.D. Fla. 2015). This inquiry can be based on classwide proof and lends itself more

                                  23   easily to class certification where a defendant’s conduct is the same as to all class members. Id.

                                  24   Where that scenario arises, “causation and damages may also be amenable to class-wide

                                  25   resolution.” See Carriuolo, 823 F.3d at 986.

                                  26
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                                   1                                  iii. ICFA Claims

                                   2          Plaintiffs seek to certify claims for violation of the Illinois Consumer Fraud and Deceptive

                                   3   Business Practices Act (“ICFA”), 815 Ill. Comp. Stat. 505/1, et seq. A claim under the ICFA has

                                   4   five elements: (1) a deceptive act or practice by the defendant; (2) the defendant’s intent that the

                                   5   plaintiff rely on the deception; (3) the occurrence of the deception in a course of conduct involving

                                   6   trade or commerce; and (4) actual damage to the plaintiff that is (5) a result of the deception. De

                                   7   Bouse v. Bayer, 922 N.E. 2d 309, 313 (Ill. 2009). When seeking relief based on the

                                   8   misrepresentation, concealment, or omission of a material fact a plaintiff must prove: (1) the

                                   9   misrepresentation or concealment of a material fact; (2) an intent by the defendant that plaintiff

                                  10   rely on that misrepresentation or concealment; and (3) the deception occurred in the course of

                                  11   conduct involving trade or commerce. Mackinac v. Arcadia Nat’l Life Ins. Co., 648 N.E. 2d 237,

                                  12   239 (Ill. App. Ct. 1995). Under the ICFA, an “omission is ‘material’ if the plaintiff would have
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                                  13   acted differently had she been aware of it, or if it concerned the type of information upon which

                                  14   she would be expected to rely in making her decision to act.” Id. (citation omitted). Thus, the

                                  15   “standard for materiality under the ICFA is an objective standard” whereby a plaintiff’s reliance

                                  16   on a material omission is presumed.” Tait, 289 F.R.D. at 483 (citations omitted).

                                  17          In light of this objective test, whether Lumber Liquidators engaged in a deceptive act is

                                  18   subject to proof by common evidence. Furthermore, where the alleged wrongful conduct is an

                                  19   omission of material fact, elements two and three are also provable through common evidence.

                                  20   The ICFA does require that plaintiffs show “the allegedly deceptive act ‘proximately caused any

                                  21   damages’ suffered.” In re ConAgra Foods, Inc., 90 F. Supp. 3d 919, 996 (C.D. Cal. 2015)

                                  22   (quoting De Bouse, 922 N.E. 2d at 309). Where the alleged misconduct is uniform towards the

                                  23   whole class, however, courts have found that individual inquiries into proximate causation do not

                                  24   preclude certification of a class. See In re Glaceau Vitaminwater Mktg. & Sales Practice Litig.,

                                  25   No. 11-cv-00925 DLI RML, 2013 WL 3490349, at *9 (E.D.N.Y. July 10, 2013); S37 Mgmt., Inc.

                                  26   v. Advance Refrigeration Co., 961 N.E. 2d 6, 16 (Ill. App. Ct. 2011).

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                                   1                                 iv. MCFA Claims

                                   2           Plaintiffs seek to certify claims for violation of the Minnesota Consumer Fraud Act

                                   3   (“MCFA”), Minn. Stat. Ann. § 325F.68, et seq. The MCFA prohibits “[t]he act, use, or

                                   4   employment by any person of any fraud, false pretense, false promise, misrepresentation,

                                   5   misleading statement or deceptive practice, with the intent that others rely thereon in connection

                                   6   with the sale of merchandise, whether or not any person has in fact been misled, deceived, or

                                   7   damaged thereby.” Id. § 325F.69. A valid MCFA claim has three elements: (1) the defendant

                                   8   engaged in prohibited conduct; (2) causation; and (3) damages. See Grp. Health Plan, Inc. v.

                                   9   Philip Morris Inc., 621 N.W. 2d 2, 15 (Minn. 2001). The MCFA does not contain a private right

                                  10   of action. Khoday v. Symantec Corp., 858 F. Supp. 2d 1004, 1016 (D. Minn. 2012). Under

                                  11   Minnesota’s Private Attorney General Statute, however, a plaintiff can seek damages for

                                  12   violations of the MCFA if, in addition to the MCFA elements, a plaintiff adequately alleges a
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                                  13   public benefit. Id.

                                  14           An omission is actionable under the MCFA when “special circumstances exist that trigger

                                  15   a legal or equitable duty to disclose the omitted facts,” such as when a party “has special

                                  16   knowledge of material facts to which the other party does not have access” or when a party makes

                                  17   misleading partial disclosures. Graphic Commc'ns Local 1B Health & Welfare Fund A v. CVS

                                  18   Caremark Corp., 850 N.W.2d 682, 695 (Minn. 2014).

                                  19           Here, common proof can address: a) whether Lumber Liquidators engaged in prohibited

                                  20   conduct; b) whether plaintiffs’ MCFA claim serves a public benefit; c) whether Lumber

                                  21   Liquidators had a duty to disclose, and, if so, whether this meets the causation element; and d)

                                  22   what damages are due to the class as a result of the uniform defect alleged. Indeed, in Grp. Health

                                  23   Plan, the Supreme Court of Minnesota recognized:

                                  24           in cases . . . where the plaintiffs’ damages are alleged to be caused by a
                                               lengthy course of prohibited conduct that affected a large number of
                                  25           consumers, the showing of reliance that must be made to prove causal nexus
                                               need not include direct evidence of reliance by individual consumers of
                                  26           defendants’ products. Rather, the causal nexus and its reliance component
                                               may be established by other direct or circumstantial evidence that the
                                  27

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                                              district court determines is relevant and probative as to the relationship
                                   1          between the claimed damages and the alleged prohibited conduct.
                                   2   Id. at 14. Thus, in proving a MCFA violation in this case, common issues would predominate.

                                   3                                  v. UTPCPL Claims
                                   4          Plaintiffs seek to certify claims for violation of the Pennsylvania Unfair Trade Practices &
                                   5   Consumer Protection Law (“UTPCPL”), 73 Pa. Stat. and Const. Stat. Ann. §201-1 et seq. This
                                   6   statute prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices in the
                                   7   conduct of any trade or commerce.” Id. § 201-3. A claim under the UTPCPL has three elements:
                                   8   (1) justifiable reliance on wrongful conduct or representation; (2) causation; and (3) injury. Yocca
                                   9   v. Pittsburgh Steelers Sports, Inc., 854 A.2d 425, 438 (Pa. 2004). The Supreme Court of
                                  10   Pennsylvania has confirmed that the UTPCPL does not entitle class members to a presumption of
                                  11   reliance; each plaintiff must allege and prove justifiable reliance. See Weinberg v. Sun Co., Inc.,
                                  12   777 A.2d 442 (Pa. 2001); Hunt v. U.S. Tobacco Co., 538 F.3d 217, 227–28 (3d Cir. 2008).
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                                  13          In Weinberg, the plaintiffs sought class certification of UTPCPL claims based on
                                  14   allegations that a gas station used false advertising to induce customers to purchase gasoline with a
                                  15   higher level of octane than the plaintiffs needed. Id. at 443–44. The state trial court rejected class
                                  16   certification finding that individual issues predominated over common ones because individual
                                  17   consumers needed to prove justifiable reliance. Id. at 444. The Supreme Court of Pennsylvania
                                  18   later affirmed this reasoning holding that all plaintiffs, whether alleging fraud or false advertising,
                                  19   must prove justifiable reliance under the UTPCPL. Determining justifiable reliance for each
                                  20   plaintiff would predominate over common issues of law and fact. Id. at 446.
                                  21          Here, while recognizing the need to prove justifiable reliance for each class member,
                                  22   plaintiffs claim this “inquiry does not outweigh the predominantly common issues,” including
                                  23   whether Lumber Liquidator’s conduct constitutes an unfair or deceptive practice and whether that
                                  24   conduct harmed class members. Plaintiffs also correctly highlight that the Ninth Circuit does not
                                  25   treat the need for individual inquiries into reliance and damages as necessarily precluding
                                  26   certification as long as common issues focusing on the defendant’s conduct predominate. Just
                                  27

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                                   1   Film, Inc. v. Buono, 847 F.3d 1108, 1121-22 (9th Cir. 2017). Accordingly, the UTPCPL claims do

                                   2   not fail the predominance requirement.

                                   3                                  vi. CCPA Claims

                                   4          Plaintiffs seek to certify claims for violation of West Virginia’s Consumer Credit and

                                   5   Protection Act (“CCPA”), W. Va. Code §§ 46A-6-101 et seq. The CCPA prohibits “[u]nfair

                                   6   methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

                                   7   commerce.” Id. § 46A-6-104. The statute expressly prohibits the “act, use or employment by any

                                   8   person of any deception, fraud, false pretense, false promise or misrepresentation, or the

                                   9   concealment, suppression or omission of any material fact with intent that others rely upon such

                                  10   concealment, suppression or omission, in connection with the sale or advertisement of any goods

                                  11   or services, whether or not any person has in fact been misled, deceived or damaged thereby,” and

                                  12   “any statement or representation with regard to the sale of goods . . . which is false, misleading or
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                                  13   deceptive or which omits to state material information . . . .” Id. § 46A-6-102(7)(M)-(N). A claim

                                  14   under the CCPA has three elements: (1) unlawful conduct by a seller; (2) an ascertainable loss on

                                  15   the part of the consumer; and (3) proof of a causal connection between the alleged unlawful

                                  16   conduct and the consumer's ascertainable loss. White v. Wyeth, 705 S.E.2d 828, 837 (W. Va.

                                  17   2010). West Virginia's Supreme Court has recognized that:

                                  18          [w]here concealment suppression or omission is alleged, and proving reliance is
                                  19          an impossibility, the causal connection between the deceptive act and the
                                              ascertainable loss is established by presentation of facts showing that the
                                  20          deceptive conduct was the proximate cause of the loss. In other words, the facts
                                              have to establish that ‘but for’ the deceptive conduct or practice a reasonable
                                  21          consumer would not have purchased the product and incurred the ascertainable
                                              loss.
                                  22
                                       Given this objective standard, each element is potentially susceptible to common proof.
                                  23
                                                              b. Proving Damages on a Classwide Basis
                                  24
                                              In Comcast, the Supreme Court explained that to satisfy the predominance requirement,
                                  25
                                       damages must be “capable of measurement on a classwide basis.” 133 S. Ct. at 1433. Lumber
                                  26
                                       Liquidators argues plaintiffs have not shown that they have a method of calculating damages in
                                  27

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                                   1   this manner. Yet, plaintiffs’ expert Phillip Waier—whose testimony, as explained below, is

                                   2   admissible—opines that he can use RSMeans’ data on the labor hours needed for each task

                                   3   associated with floor replacement, local trade labor rates, material pricing, and appropriate

                                   4   contractor markups to calculate total replacement costs. This process identifies an adequate model

                                   5   at the certification stage for calculating damages.

                                   6                  2. Superiority

                                   7          In addition to predominance, Rule 23(b)(3) requires that class resolution be “superior to

                                   8   other available methods for the fair and efficient adjudication of the controversy.” The rule sets

                                   9   forth four factors to guide this determination: “the class members’ interests in individually

                                  10   controlling the prosecution or defense of separate actions”; “the extent and nature of any litigation

                                  11   concerning the controversy already begun by or against class members”; “the desirability or

                                  12   undesirability of concentrating the litigation of the claims in the particular forum”; and “the likely
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                                  13   difficulties in managing a class action.” Fed. R. Civ. P. 23(b)(3)(A)–(D). “[C]onsideration of these

                                  14   factors requires the court to focus on the efficiency and economy elements of the class action so

                                  15   that cases allowed under subdivision (b)(3) are those that can be adjudicated most profitably on a

                                  16   representative basis.” Zinser, 253 F.3d at 1190 (quotation marks and citation omitted).

                                  17          Here, plaintiffs correctly argue that “[g]iven the large number of class members, the high

                                  18   cost of individual proof, and the common issues at the heart of the claims, the class action device

                                  19   is the superior method for adjudicating these claims.” Mot. at 24:24–26. As mentioned above, the

                                  20   individual issues involved are secondary. In addition, given the high costs of litigation, the need

                                  21   for expert opinion, and the risks involved, individual suits likely would not make economic sense

                                  22   for a substantial number of putative class members. “These considerations are at the heart of why

                                  23   the Federal Rules of Civil Procedure allow class actions in cases where Rule 23's requirements are

                                  24   satisfied.” Just Film, 847 F.3d at 1123. Accordingly, superiority is satisfied.

                                  25          C. Exclusion of Plaintiffs’ Expert Witnesses

                                  26          Lumber Liquidators seeks to exclude the testimony of plaintiffs’ expert witnesses Daniel

                                  27   Harrington, Phillip Waier, Peter Nelson, and Emily Hopps. Towards this end, Lumber Liquidators

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                                   1   argues first, that Harrington lacks proper qualifications, bases his opinion on anecdote rather than

                                   2   sound methodology, and is potentially biased by his work for a direct competitor. Second, Waier’s

                                   3   damages model was hastily assembled and not rooted in specific knowledge of the case. Lastly,

                                   4   the moisture testing of the bamboo flooring conducted by Nelson and Hopps deviated from

                                   5   standard protocols and involved too small of a sample size.

                                   6          These arguments may well gain traction at the appropriate juncture. Lumber Liquidators

                                   7   persuasively points out that the expert testimony put forward by plaintiffs appears in some

                                   8   respects shaky. Shakiness, however, does not require exclusion. Primiano v. Cook, 598 F.3d 558,

                                   9   564 (9th Cir. 2010). The question now is not “whether the expert is right or wrong, just whether

                                  10   his [or her] testimony has substance such that it would be helpful to a jury.” Alaska Rent-A-Car,

                                  11   738 F.3d at 969. Here, the expert testimony at issue largely meets that standard.

                                  12          Harrington, while not a scientist, has fifteen years of experience working with bamboo
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                                  13   flooring and dealing with claim inspection reports. His opinion is the product of his extensive

                                  14   experience and, while his position as a VP at Galleher Corporation raises questions about his

                                  15   motivations, his potential bias is better addressed through cross-examination than exclusion. While

                                  16   Waier may lack specific knowledge of this case, his testimony identifies a model that is capable of

                                  17   determining damages on a classwide basis. Finally, while Hopps and Nelson did use a relatively

                                  18   small sample size and appear to have deviated from standard protocols, “a slight modification of

                                  19   an otherwise reliable method does not render expert testimony inadmissible.” City of Pomona, 750

                                  20   F.3d at 1047. Lumber Liquidator’s critiques of Nelson and Hopps’ methods may suggest reasons

                                  21   for a jury to give their opinions less weight but they are not substantial enough to merit exclusion.

                                  22          The one exception to this analysis is Nelson and Hopps’ opinion that Lumber Liquidators:

                                  23   a) should have expected the alleged defects; and b) later became aware of them. Courts routinely

                                  24   exclude expert testimony as to intent, motive, or state of mind as issues better left to a jury. See

                                  25   Siring v. Oregon State Bd. of Higher Ed. ex. rel. Eastern Oregon University, 927 F. Supp. 2d

                                  26   1069, 1077 (D. Or. 2013) (collecting cases). Exclusion on such grounds is appropriate here.

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                                   1                                           III. CONCLUSION

                                   2          For the foregoing reasons, defendant’s motion to exclude plaintiffs’ expert witnesses is

                                   3   granted with regard to Nelson and Hopps’ opinion as to Lumber Liquidators’ state of mind and

                                   4   denied as to all other expert testimony. Plaintiffs’ motion for class certification is granted and the

                                   5   California, Florida, Minnesota, Pennsylvania, and West Virginia classes are certified. Plaintiffs

                                   6   Gold, Triana, Norris, Fursman, and Emery are appointed as representatives of their respective

                                   7   classes. Michael F. Ram of Robins Kaplan LLP and Jeffrey B. Cereghino of Ram, Olson,

                                   8   Cereghino & Kopczynski LLP shall be appointed class counsel.

                                   9          Given Plaintiff Mendez’s failure to satisfy the adequacy prong of Rule 23(a), the Illinois

                                  10   class is conditionally certified pending substitution of an adequate class representative. Plaintiffs

                                  11   must substitute a new class representative for the Illinois class within forty-five (45) days of the

                                  12   issuance of this order and are granted leave to file a fifth amended complaint for this sole purpose.
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                                  13   The parties shall meet and confer regarding the class notices and jointly submit agreed upon

                                  14   proposals within thirty (30) days of the issuance of this order.

                                  15

                                  16   IT IS SO ORDERED.

                                  17

                                  18   Dated: November 15, 2017

                                  19                                                     ______________________________________
                                                                                         RICHARD SEEBORG
                                  20                                                     United States District Judge
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